           Case 8:11-cv-01457-RWT Document 12 Filed 08/08/12 Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


                                                *
JOHN B. KIMBLE,                                 *
                                                *
     Plaintiff,                                 *
                                                *
v.                                              *   Case No.: RWT 11cv1457
                                                *
                                                *
RAJESH K. RAJPAL, et al.,                       *
                                                *
     Defendants.                                *
                                                *
                                                *

                                            ORDER

          For the reasons stated in the accompanying Memorandum Opinion, it is this 8th day of

August, 2012, by the United States District Court for the District of Maryland,

          ORDERED, that Defendants’ Motion to Dismiss [ECF No. 3-1] is GRANTED and the

Complaint is DISMISSED without prejudice; and it is further

          ORDERED, that judgment for costs be entered in favor of the Defendants; and it is

further

          ORDERED, that that the Clerk is directed to CLOSE the case.




                                                                     /s/
                                                              ROGER W. TITUS
                                                       UNITED STATES DISTRICT JUDGE
